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                                  UNITED STATES DISTRICT COURT
     11                          CENTRAL DISTRICT OF CALIFORNIA
     12
     13     Orlando Garcia,                          Case No.: 2:20-cv-09886-DSF-GJS
     14          Plaintiff,
            v.                                       Plaintiff’s Memorandum of
     15                                              Points and Authorities in
                                                     Support of Motion for Summary
     16
             Donna M. Harnsberger;                   Judgment
     17      Aslan Catering, Inc.; a California
     18      Corporation                             Date: January 24, 2022
     19                                              Time: 1:30p.m.
                   Defendants.                       Ctrm: 7D
     20
     21
     22
                                                      Hon. Judge Dale S. Fischer
     23
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                                                                                      iv
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      1                MEMORANDUM OF POINTS AND AUTHORITIES
      2
      3                         I. PRELIMINARY STATEMENT
      4           Plaintiff Orlando Garcia who is a suffers from Cerebral Palsy; he is
      5    level C-5 quadriplegic and relies on a wheelchair for mobility. He has
      6    brought this action because Defendants Donna M. Harnsberger and Aslan
      7    Catering, Inc. have failed to make their Restaurant accessible to persons
      8    with disabilities. In this motion, Plaintiff is seeking a ruling that his rights
      9    were violated under the Americans with Disabilities Act and Unruh Civil

     10    Rights Act, and a statutory penalty against each Defendant. Plaintiff

     11    respectfully requests this Court grant his motion.

     12
     13                             II. RELEVANT FACTS

     14           Plaintiff Orlando Garcia suffers from Cerebral Palsy; he is level C-5

     15    quadriplegic and relies on a wheelchair for mobility. He also has manual

     16    dexterity issues and limited range of motion in his arms. (SUF # 1). The

     17    Aslan Mediterranean (“Restaurant”) is located at or about 2128 Colorado

     18    Blvd. in Los Angeles, California. (SUF # 2). The Aslan Mediterranean

     19    restaurant is a facility open to the public, a place of public

     20    accommodation, and a business establishment. (SUF # 3). Defendant

     21    Donna M. Harnsberger owned the real property in February 2020 and

     22    does currently. (SUF # 4). Defendant Aslan Catering, Inc. is currently the

     23    owner and operator of the Restaurant and was in February 2020. (SUF #

     24    5).

     25           On February 21, 2020, Mr. Garcia went to the Aslan Mediterranean

     26    (“Restaurant”) located at or about 2128 Colorado Blvd. in Los Angeles,

     27    California, to get something to eat. He also intended to assess it for

     28    compliance with access laws. (SUF # 6). As Mr. Garcia approached the




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      1    Restaurant, he saw that there was outside dining available for customers
      2    to sit and eat. (SUF # 7). However, he could immediately tell from the style
      3    of the tables that the tables did not have enough toe and knee clearance
      4    for someone like him who uses a wheelchair for mobility. The table was a
      5    pedestal style table which prevents him from scooting his wheelchair
      6    underneath. (SUF # 8).
      7          Mr. Garcia knew that had he tried to sit at the tables, he would have
      8    not been able to get close enough to the table to be able to use it. He did not
      9    want to embarrass himself trying to use the table, so he decided to leave
     10    without further patronizing the Restaurant. This was frustrating for him
     11    because he was hungry and had to find another place to get something to
     12    eat but had wanted to dine at Aslan. (SUF # 9).
     13          On March 8, 2021, Mr. Evens Louis, an investigator for Plaintiff,
     14    went to the Restaurant and conducted an investigation. (SUF # 10). Mr.
     15    Louis observed that at that time, the Restaurant did not offer dining
     16    inside or outside. (SUF # 11). On May 11, 2021, Mr. Louis went to the
     17    Restaurant and conducted a follow-up investigation. (SUF # 12). During
     18    that investigation, Mr. Louis observed that one of the two outdoor dining
     19    tables had no toe or knee obstructions. (SUF # 13).
     20
     21                             III. LEGAL STANDARD
     22          Pursuant to section 56 of the Federal Rules of Civil Procedure, a
     23    party can bring a motion for summary judgment where there is no
     24    genuine dispute as to any material fact. Motions for summary judgment
     25    are not “disfavored.” (Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986)) In
     26    the present case, there can be no genuine dispute over the facts of the
     27    case and those facts inform the court and the parties that it would be a
     28    waste of judicial resources for this case to proceed to trial. There is no




                                                     2
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      1    genuine issue of material fact and this court should grant the Plaintiff’s
      2    motion.
      3
      4                IV. THE LACK OF ACCESSIBLE FACILITIES
      5          Under Title III of the Americans with Disabilities Act of 1990
      6    (“ADA”), the general rule is that: “No individual shall be discriminated
      7    against on the basis of a disability in the full and equal enjoyment of the
      8    goods, services, facilities, privileges, advantages, or accommodations of
      9    any place of public accommodation by any person who owns, leases (or

     10    leases to), or operates a place of public accommodation.” (42 U.S.C. §

     11    12182(a)). The term “discrimination” can be misleading. The ADA applies

     12    not just to intentional discrimination but to thoughtlessness and

     13    indifference:

     14          Its passage was premised on Congress's finding that
     15          discrimination against the disabled is most often the
     16          product,    not   of   invidious    animus,   but   rather   of
     17          thoughtlessness and indifference, of benign neglect, and of
     18          apathetic attitudes rather than affirmative animus. The
     19          concept of “discrimination” under the ADA does not extend
     20          only to obviously exclusionary conduct—such as a sign
     21          stating that persons with disabilities are unwelcome or an
     22          obstacle course leading to a store's entrance. Rather, the ADA
     23          proscribes more subtle forms of discrimination—such as
     24          difficult-to-navigate restrooms and hard-to-open doors—
     25          that interfere with disabled individuals' “full and equal
     26          enjoyment” of places of public accommodation. ( Chapman v.
     27          Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 944-45 (9th Cir.
     28



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      1           2011)    (internal    quotes   and       citations   removed   for
      2           readability)).
      3
                  To succeed on his Title III, ADA claim, “a plaintiff must show that:
      4
           (1) he is disabled within the meaning of the ADA; (2) the defendant is a
      5
           private entity that owns, leases, or operates a place of public
      6
           accommodation; and (3) the plaintiff was denied public accommodations
      7
           by the defendant because of his disability.” (Arizona ex rel. Goddard v.
      8
           Harkins Amusement Enterprises, Inc., 603 F.3d 666, 670 (9th Cir. 2010)).
      9
           “The    third    element—whether          plaintiffs    were   denied       public
     10
           accommodations on the basis of disability—is met if there was a violation
     11
           of applicable accessibility standards.” (Moeller v. Taco Bell Corp., 816
     12    F.Supp.2d 831, 847 (N.D. Cal. 2011) citing, Chapman, 631 F.3d at 945).
     13    This is because discrimination is defined both as either a failure to ensure
     14    that alterations are “readily accessible to and useable by persons with
     15    disabilities” and, where there are no alterations, “a failure to remove
     16    architectural barriers…in existing facilities…where such removal is readily
     17    achievable.” (42 U.S.C. §§ 12183(a)(2); 12182(b)(2)(A)(iv)) Thus, the
     18    following is a simplified statement of the elements necessary for the
     19    plaintiff to prove discrimination under this section:
     20       1. Plaintiff must be disabled. (42 U.S.C. § 12182(a));
     21       2. The defendant’s facility must be a place of "public accommodation"
     22           and, therefore, governed by Title III of the ADA; (Id.)
     23       3. The defendant must be a responsible party, i.e., owner, operator,
     24           lessor or lessee; (Id.)
     25       4. The defendant’s facility must have either undergone an alteration
     26           that did not comply with the access standards or contain an easily
     27           removed barrier that the defendant failed to remove. ( 42 U.S.C. §§
     28



                                                       4
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    1            12183(a)(2); 12182(b)(2)(A)(iv)). Plaintiff must have actually
    2            encountered this non-removed and unlawful barrier. (42 U.S.C. §
    3            12188(a)).
    4            As discussed below, Mr. Garcia’s civil rights were violated because
    5    the Defendant failed to provide accessible facilities at the Restaurant.
    6    Plaintiff will discuss each element, seriatim.
    7
    8       A.          Plaintiff is Disabled
    9            Mr. Garcia has severe mobility impairments. He cannot walk and he
   10    uses a wheelchair for mobility. (SUF #1) Thus, there can be little doubt
   11    that he fits the qualification under the Americans with Disabilities Act as a
   12    person with a disability. (42 U.S.C. § 12102(2)(A) (defining a physical
   13    impairment substantially affecting a major life activity as qualifying as a
   14    disability)). Given Mr. Garcia’s inability to walk, this is not a genuine issue.
   15
            B.      Defendants Own and Operate a Place of Public
   16               Accommodation
   17            The Restaurant is an establishment that serves food and drinks.
   18    Establishments serving food or drinks are expressly identified under the
   19    ADA as places of public accommodation. (42 U.S.C. § 12181(7)(B)).
   20    Therefore, the Restaurant is a place of public accommodation, which the
   21    Defendant also admits. (SUF # 3). Defendant Aslan Catering, Inc operated
   22    the Restaurant on the date of Plaintiff’s visit in February 2020 and does
   23    currently. (SUF # 5). Defendant Donna M. Harnsberger owned the real
   24    property on which the Restaurant is located on the date of Plaintiff’s visit
   25    and does currently. (SUF # 4). Defendants, therefore, had an obligation to
   26    comply with the anti-discrimination provisions of Title III of the
   27    Americans with Disabilities Act.
   28



                                                   5
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            C.        Plaintiff Personally     Encountered       Barriers   at   the
    1                 Restaurant
    2            The ADA defines “discrimination” as a failure to remove
    3    architectural barriers where it is readily achievable to do so. (42 U.S.C. §
    4    12182(b)(2)(A)(iv)). The term “barrier” is not defined in the Act itself but
    5    is defined in the Technical Assistance Manual:
    6
                 III-4.4100: What is an architectural barrier? Architectural
    7
                 barriers are physical elements of a facility that impede
    8
                 access by people with disabilities. These barriers include
    9
                 more than obvious impediments such as steps and curbs that
   10
                 prevent access by people who use wheelchairs.
   11
   12            (Department of Justice, Technical Assistance Manual on the

   13            American with Disabilities Act (BNA) §§ III-4.4100 (1991)).

   14            Case law is more specific. “To determine if Plaintiff describes an
   15    ‘architectural barrier’ the Court must turn to the ADA Accessibility
   16    Guidelines for Buildings and Facilities (“ADAAG”). If an element does not
   17    meet or exceed ADAAG standards, it is considered a barrier to access.” (
   18    Rush v. Denco Enterprises, Inc., 857 F. Supp. 2d 969, 973 (C.D. Cal. 2012)
   19    (internal cites omitted)). “Any element in a facility that does not meet or
   20    exceed the requirements set forth in the ADAAG is a barrier to access.”
   21    (identifying this as the formal position of the Department of Justice).
   22    (Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 945 (9th Cir. 2011).
   23    These are “objective” and “precise” standards and “the difference between
   24    compliance and noncompliance” is “often a matter of inches.” (Id).
   25
   26            1.     Inaccessible Outdoor Dining Tables
   27
   28



                                                   6
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    1         The lack of accessible dining tables constitutes a barrier. Where
    2    dining surfaces are provided for the consumption of food or drink, at least
    3    5 percent of the seating spaces and standing spaces at the dining surfaces
    4    must be accessible. (36 C.F.R., Pt. 1191, Appendix B (Scoping 226.1))
    5    Dining surfaces are required to provide toe clearance which shall extend
    6    25 inches maximum and 17 inches minimum under the element. Toe
    7    clearance shall be 30 inches wide minimum. (36 C.F.R., Pt. 1191, Appendix
    8    D (Building Blocks: 902.1, 902.2)).
    9         On the date of Plaintiff’s visit, and due to COVID, outdoor dining

   10    surfaces were an important privilege or accommodation offered by the

   11    Restaurant to its customers. All of the outdoor dining tables were pedestal

   12    style dining tables that did not provide sufficient knee and toe clearance

   13    for wheelchair users. (SUF # 5).

   14            Defendant’s failure to provide accessible out dining surfaces on

   15    the date of Mr. Garcia’s visit was a violation of the ADA.

   16
            D.       The Barriers Are and Were Readily Achievable to Remove
   17
                 Under the ADA, regardless of whether alterations have been made
   18
         to the facility, public accommodations are required to remove
   19
         architectural barriers “where such removal is readily achievable.” (42
   20
         U.S.C. § 12182(b)(2)(A)(iv)). Readily achievable is defined as “easily
   21
         accomplishable and able to be carried out without much difficulty or
   22
         expense.” (28 C.F.R. 36.304(a)).
   23
                 After this lawsuit was filed, Defendants placed an accessible table
   24
         outside the Restaurant. (SUF #13 & 14). In such circumstances, the
   25
         question about whether it is readily achievable has been definitively
   26
         answered. See Wilson v. Pier 1 Imports (US), Inc., 439 F.Supp.2d 1054,
   27
         1069 (E.D. Cal. 2006) (“Given that the barrier has already been cured, the
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                                                   7
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    1    court must find that it was readily achievable, and thus that it violated the
    2    ADA and subsequently the Unruh Act.”) Therefore, there is no dispute
    3    about whether it is and was readily achievable for Defendants to provide
    4    an accessible outdoor dining table at the Restaurant.
    5          In sum, the Defendant failed to remove barriers that were readily
    6    removed and, therefore, violated the Plaintiff’s rights under the ADA.
    7
    8        V.    DEFENDANTS DO NOT MEET THE “FORMIDABLE”
         BURDEN OF DEMONSTRATING MOOTNESS
    9
               “The test for mootness…is a stringent one. Mere voluntary
   10
         cessation of allegedly illegal conduct does not moot a case; if it did, the
   11    courts would be compelled to leave the defendant free to return to his old
   12    ways.” United States v. Concentrated Phosphate Export Ass’n, 393 U.S. 199,
   13    203-04 (1968) (citation and internal punctuation omitted). Moreover, “[i]t
   14    is well settled that a defendant’s voluntary cessation of a challenged
   15    practice does not deprive a federal court of its power to determine the
   16    legality of the practice.” City of Mesquite v. Aladdin’s Castle, Inc., 455 U.S.
   17    283, 289 (1982). A claimed remedy “might become moot if subsequent
   18    events make it absolutely clear that the allegedly wrongful behavior could
   19    not reasonably be expected to recur.” Friends of the Earth, Inc. v. Laidlaw
   20    Envtl. Servs. (TOC), Inc., 528 U.S. 167, 170, 120 S. Ct. 693, 698, 145 L. Ed.
   21    2d 610 (2000). The party asserting mootness has “the heavy burden of
   22    persuading the Court that the challenged conduct cannot be reasonably
   23    expected to recur.” Id. One court, presiding over an ADA case, summarized
   24    the standard as follows:
   25          The burden of establishing mootness by voluntary compliance is a
   26    heavy one. A request for prospective relief can be mooted by a defendant's
   27    voluntary compliance if the defendant meets the “formidable burden” of
   28



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    1    demonstrating that it is “absolutely clear the allegedly wrongful behavior
    2    could not reasonably be expected to recur.” Such a burden will typically be
    3    met only by changes that are permanent in nature and that foreclose a
    4    reasonable chance of recurrence of the challenged conduct. [Tandy v. City
    5    of Wichita, 380 F.3d 1277, 1291 (10th Cir. 2004) (internal cites and quotes
    6    omitted for readability).]
    7           Mr. Garcia maintains that at the time of his visit to the Restaurant,
    8    all of the outdoor dining tables were pedestal style dining tables that did
    9    not provide sufficient knee and toe clearance for wheelchair users. (SUF #

   10    5). After this lawsuit was filed, at one point, Defendants placed an

   11    accessible table outside the Restaurant. (SUF #13 & 14). But this still

   12    requires the Restaurant to follow a policy and take steps to maintain and

   13    keep accessible tables outside the Restaurant when they provide outside

   14    dining to all customers. When a business has a policy but failed to follow

   15    it, this is grounds for rejecting a claim of mootness based on the voluntary
         cessation doctrine. In Moeller v. Taco Bell, the court rejected Taco Bell’s
   16
         claim of mootness, holding that: “TBC has not met its burden under the
   17
         voluntary cessation doctrine . . . TBC is not currently following its own
   18
         access policies and has a history of not doing so . . . [and] TBC could
   19
         rescind the policies at any time.”
   20
                The supposed “fixes” to the problem experienced by Mr. Garcia are
   21
         policy and practice based. They are not physical changes. They could be
   22
         ignored or rescinded at any time. Courts have not been hesitant to find
   23
         that   ADA   defendants      cannot   meet    the   formidable    burden   of
   24
         demonstrating     mootness      when      they   undertake     post-litigation
   25
         modifications that are not structural in nature. For example, in Langer v.
   26
         Kaimana, the defendants had a practice of placing “merchandise and a
   27
         dumpster in the access aisle adjacent to the space” making the accessible
   28



                                                   9
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    1    space unusable. The defendants brought a motion to dismiss, arguing that
    2    the violations were fixed, rendering the case moot. The defendants
    3    submitted a declaration, claiming that: “they have implemented policies
    4    and procedures that ensure nothing obstructs the access aisle adjacent to
    5    the handicapped parking space, which is otherwise ADA complaint.” The
    6    court denied the motion, citing several cases for authority, and held:
    7    “Notwithstanding [defendant’s] declaration, there is no evidence that
    8    guarantees Defendants will follow through on this recently-implemented
    9    policy of keeping the access aisles unobstructed. Unlike ADA cases

   10    involving post-lawsuit structural alterations, which would require

   11    defendants to make physical alterations to a non-ADA compliant property,

   12    the policy at issue here simply requires Defendants' inaction.” Langer,

   13    2016 WL 7029151, at *2.

   14          Moreover, in this case, Defendants only removed the outdoor dining

   15    tables after being sued. The defense claims that because there is no longer
         any outdoor dining available at the establishment, Plaintiff's case is now
   16
         moot. However, even this court noted in its ruling denying Defendants'
   17
         Motion to Dismiss In this case that there is the possibility the violation
   18
         could easily recur without an injunction for Defendants to maintain their
   19
         property as accessible. (Dkt. 29, Order Denying Defs Motion to Dismiss).
   20
         On the date of Mr. Garcia’s visit, he noticed that Defendants provided
   21
         outdoor dining, but none of the tables were accessible to him. (SUF #5).
   22
         Additionally, the first time when Plaintiff's investigator Evens Louis
   23
         visited the property the outdoor tables were removed, and the next time
   24
         there was outdoor dining provided with one ADA accessible table
   25
         provided. (X3 Decl. of Louis, ¶¶3-6).
   26
               Under such circumstances, courts have been advised to be
   27
         skeptical. “It is the duty of the courts to beware of efforts to defeat
   28



                                                   10
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    1    injunctive relief by protestations of repentance and reform, especially
    2    when abandonment seems timed to anticipate suit, and there is a
    3    probability of resumption.” Santiago v. Miles, 774 F.Supp. 775, 793
    4    (W.D.N.Y. 1991). As the Ninth Circuit has noted: “Such actions in the face
    5    of litigation are equivocal in purpose, motive, and permanence.” Gonzales
    6    v. Police Dep't, City of San Jose, Cal., 901 F.2d 758, 762 (9th Cir. 1990). The
    7    Supreme Court has held that there is actually a “presumption” of future
    8    injury when cessation occurs in response to suit. Steel Co. v. Citizens for a
    9    Better Env't, 523 U.S. 83, 109 (1998).

   10           Merely fixing a problem after being sued does not render the claims

   11    moot. “The question is not whether the precise relief sought at the time

   12    the application for an injunction was filed is still available. The question is

   13    whether there can by any effective relief. Mere voluntary cessation of

   14    allegedly illegal conduct does not moot a case; it if did, the courts would

   15    be compelled to leave the defendant free to return to his old ways.” Grove
         v. De La Cruz, 407 F. Supp. 2d 1126, 1130 (C.D. Cal. 2005) (internal cites
   16
         and quotes omitted for readability).
   17
                Here, Defendants cannot meet the formidable burden of
   18
         demonstrating that the violation could not possibly recur.
   19
   20
         V. THE LACK OF COMPLIANT FACILITIES IS UNLAWFUL UNDER
   21                        CALIFORNIA LAW
   22           The Unruh Civil Rights Act provides that “a violation of the right of
   23    any individual under the Americans with Disabilities Act of 1990 shall
   24    also constitute a violation of this section.” Civ. Code § 51 (f). “A violation of
   25    the ADA is, by statutory definition, a violation of both the Unruh Act and
   26    the DPA.” (Cullen v. Netflix, Inc., 880 F.Supp.2d 1017, 1023 (N.D. Cal.
   27    2012)). “Because the Unruh Act is coextensive with the ADA and allows

   28    for monetary damages, litigants in federal court in California often pair




                                                   11
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    1    state Unruh Act claims with federal ADA claims.” (Molski, 481 F.3d at 731).
    2    As discussed above under section “V”, the defendants violated the ADA.
    3    Thus, there has been a per-se violation of Unruh.
    4                                 VI. REMEDIES
    5           Plaintiff seeks an injunction under the ADA requiring the
    6    defendants to provide and maintain accessible dining counters. Plaintiff
    7    also seeks a separate statutory penalty against each defendant in the
    8    amount of $4,000.
    9
              A. PLAINTIFF HAS STANDING TO SEEK AN INJUNCTION
   10    REQUIRING DEFENDANTS TO PROVIDE AND MAINTAIN ACCESSIBLE
   11    DINING SURFACES
   12           Mr. Garcia has standing to seek an injunction requiring Defendants
   13    to provide and maintain the accessibility of the interior sales counter. In

   14    Chapman v. Pier 1 Imports, the Ninth Circuit held that an ADA plaintiff: (1)

   15    “must demonstrate that he has suffered an injury-in-fact,” and (to obtain

   16    injunctive relief), (2) demonstrate a “real and immediate threat of

   17    repeated injury” in the future.

   18           Under Chapman, an ADA plaintiff suffers an injury-in-fact when he
         “encounters an accessibility barrier [that] interferes with the plaintiff's
   19
         full and equal enjoyment of the facility.” As referenced above, the Ninth
   20
         Circuit has held that the phrase “full and equal” is a term of art, having
   21
         specific reference to the Americans with Disabilities Act Accessibility
   22
         Guidelines (“ADAAG”). Thus, the Chapman court held that “the ADAAG
   23
         establishes the technical standards required for ‘full and equal
   24
         enjoyment’” and that “if a barrier violating these standards relates to a
   25
         plaintiff's disability, it will impair the plaintiff's full and equal access” and
   26
         “constitutes ‘discrimination’ under the ADA.”
   27
   28



                                                   12
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    1           Here, Mr. Garcia personally encountered the non-compliant
    2    outdoor dining tables during his visit and the lack of accessible dining
    3    tables relates to his disability, since he cannot roll his wheelchair under
    4    the pedestal style dining tables.
    5           There is also no dispute that Defendants’ inconsistent practices of
    6    moving their tables around, and sometimes providing accessible tables
    7    outdoor, other times not providing them, and other times not providing
    8    any dining tables at all, was a violation of the ADA. Furthermore, the ADA
    9    not only requires that businesses provide accessible facilities, i.e. facilities

   10    that physically comply with the Access Standards, but they have an

   11    ongoing duty to ensure that those accessible features remain ready to be

   12    used by persons with disabilities: “A public accommodation shall maintain

   13    in operable working condition those features of facilities and equipment

   14    that are required to be readily achievable to and usable by persons with

   15    disabilities . . ..” The Department of Justice explains the purpose of this
         Regulation:
   16
                Section 36.211 Maintenance of Accessible Features
   17
                Section 36.211 provides that a public accommodation shall
   18
         maintain in operable working condition those features of facilities and
   19
         equipment that are required to be readily accessible to and usable by
   20
         persons with disabilities by the Act or this part. The Act requires that, to
   21
         the maximum extent feasible, facilities must be accessible to, and usable
   22
         by, individuals with disabilities. This section recognizes that it is not
   23
         sufficient to provide features such as accessible routes, elevators, or
   24
         ramps, if those features are not maintained in a manner that enables
   25
         individuals with disabilities to use them.
   26
                “A violation of the ADA can occur where a defendant’s business is
   27
         in compliance with ADAAG requirements, but that defendant does not
   28



                                                   13
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    1    maintain its compliant features in a useable manner.”               Thus, the
    2    Defendants also had an obligation to maintain the usability of their
    3    accessible counter, which they failed to do so by keeping the lobby doors
    4    locked. Thus, there can be no dispute that the plaintiff suffered an injury
    5    in fact.
    6              Second, a plaintiff must establish that there is ongoing injury or a
    7    real likelihood of future injury. It is axiomatic that if there is no ongoing
    8    or likely future injury, then a plaintiff has no standing for injunctive relief.
    9    Chapman firmly established that there are two ways to demonstrate such

   10    standing: “Demonstrating an intent to return to a noncompliant

   11    accommodation is but one way for an injured plaintiff to establish Article

   12    III standing to pursue injunctive relief. A disabled individual also suffers a

   13    cognizable injury if he is deterred from visiting a noncompliant public

   14    accommodation because he has encountered barriers related to his

   15    disability there.”    Additionally, the Ninth Circuit has “found actual or
         imminent injury sufficient to establish standing where a plaintiff
   16
         demonstrates an intent to return to the geographic area where the
   17
         accommodation is located and a desire to visit the accommodation if it
   18
         were made accessible.”
   19
                   Here, Mr. Garcia explains that he has been deterred from visiting
   20
         the Restaurant because of his knowledge of the condition of the dining
   21
         tables.     However, he lives nearby the Restaurant, and therefore, the
   22
         Restaurant is a convenient place for him to dine. Thus, once the violations
   23
         are removed, Mr. Garcia intends to return to and patronize the Restaurant
   24
         again.
   25
                   Finally, the Ninth Circuit has now held that ADA “testers”—folks
   26
         actively looking for non-complying businesses—have full standing. In Civ.
   27
         Rights Educ., the Ninth Circuit had to grapple with the question of
   28



                                                   14
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    1    “whether a plaintiff has constitutional standing where her only motivation
    2    for visiting a facility is to test it for ADA compliance.” After a thorough
    3    analysis of the various circuits that have found that ADA plaintiffs have
    4    “tester” standing, the Ninth Circuit found “as a matter of first impression,
    5    a plaintiff suing under Title III of the ADA can claim tester standing;
    6    plaintiffs' status as testers, rather than bona fide hotel patrons, [does] not
    7    deprive them of standing.”      And the reason is simple: “motivation is
    8    irrelevant to the question of standing under Title III of the ADA.”
    9          Here, Mr. Garcia considers himself an ADA advocate and has been

   10    very active in suing businesses that are violating his rights and violating

   11    the Americans with Disabilities Act. Once it has been represented to Mr.

   12    Garcia that the barriers have been allegedly removed, Mr. Garcia has

   13    stated an intention to return to the Restaurant to assess it for compliance

   14    with access laws. And the fact that Plaintiff has an extensive litigation

   15    history and is a veteran tester supports his claim that he will return. Aside
         from the intent to return to the Restaurant to dine, the Plaintiff has an
   16
         important litigation reason to return: to have standing. This is an entirely
   17
         appropriate motivation.
   18
               Importantly, Mr. Garcia’s litigation history is not a basis for finding a
   19
         lack of standing. In D'Lil, where a disabled woman was suing a hotel for
   20
         ADA violations, the trial court found that D’Lil did not have standing and
   21
         focused on the fact that the plaintiff had “approximately sixty prior ADA
   22
         suits,” and expressed “concerns about D'Lil's credibility focused
   23
         particularly on her past ADA litigation” and found that she was not a
   24
         legitimate plaintiff because of this history. But the Ninth Circuit reversed
   25
         the D’Lil trial court’s ruling and held that it was going to “reject the legal
   26
         reasoning” despite the deference normally owed to the district court. The
   27
         Ninth Circuit first pointed out the unique nature of ADA litigation and the
   28



                                                   15
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    1    public policy interest and benefit in having a small number of “committed
    2    individuals bring[ing] serial litigation advancing the time when public
    3    accommodations will be compliant with the ADA.” The Ninth Circuit then
    4    held that, “Although we afford great deference to a district court's
    5    credibility assessments, on this record we cannot agree that D'Lil's past
    6    ADA litigation was properly used to impugn her credibility. Accordingly,
    7    because the district court focused on D'Lil's history of ADA litigation as a
    8    basis for questioning the sincerity of her intent to return to the Best
    9    Western        Encina,      we      reject   its   purported    adverse        credibility

   10    determination.”

   11             Therefore, Plaintiff has standing to seek an injunction requiring

   12    Defendants to provide and maintain accessible dining surfaces at the

   13    Restaurant.

   14
            A.         Plaintiff is Entitled to a Statutory Award Under the Unruh
   15                  Civil Rights Act
                  Statutory damages can be recovered for a violation of Unruh only if
   16
         the violation “denied the plaintiff full and equal access to the place of
   17
         public accommodation on a particular occasion.” (Cal. Civ. Code §
   18
         55.56(a)).         The    statute    requires that plaintiff          either   personally
   19
         encountered the violation or was deterred because of the violation. (Cal.
   20
         Civ. Code § 55.56(b)).
   21
   22            1.         Plaintiff personally encountered the inaccessible dining
                            surface at the Restaurant.
   23
                  First, if a plaintiff personally encountered the violation, then that
   24
         personal encounter may be sufficient to establish a denial of full and equal
   25
         access       “if    the    plaintiff    experienced     difficulty,     discomfort,    or
   26
         embarrassment because of the violation.”( Cal. Civ. Code § 55.56(b), (c)).
   27
         As outlined above, Mr. Garcia can establish entitlement to a statutory
   28



                                                            16
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    1    penalty under either section. On the date of his visit to the Restaurant, Mr.
    2    Garcia personally observed and encountered the inaccessible dining
    3    tables. (SUF # 6-8) Because he knew he would have difficulty using the
    4    tables, he was deterred from eating at the Restaurant. This was difficult
    5    and frustrating for Mr. Garcia because he was already hungry but had to
    6    find another place to get something to eat. (SUF # 9) Moreover, because
    7    he saw the inaccessible tables, he was dissuaded from further accessing
    8    the Restaurant. However, had he chosen to access the Restaurant despite
    9    the barrier, he would have been denied full and equal access because of

   10    the non-compliant dining tables.

   11          Notably, proving “difficulty, discomfort, or embarrassment” is just

   12    one way that a personal encounter with a violation can result in a denial

   13    of full and equal access. (Cal. Civ. Code § 55.56(c)). Although Mr. Garcia

   14    easily satisfies that criteria here, proving difficulty, discomfort, or

   15    embarrassment is not necessarily required under the statute. The
         language regarding “full and equal access” adopts by reference the same
   16
         language under the ADA. As noted above, under the ADA, individuals shall
   17
         not be discriminated against based on disability in the “full and equal
   18
         enjoyment” of the goods, services and facilities offered by places of public
   19
         accommodation. ( 42 U.S.C. § 12182(a)). The Ninth Circuit has found that
   20
         “[b]ecause the ADAAG establishes the technical standards required for
   21
         ‘full and equal enjoyment,’ if a barrier violating these standards relates
   22
         to a plaintiff's disability, it will impair the plaintiff's full and equal
   23
         access, which constitutes ‘discrimination’ under the ADA.” (Chapman v.
   24
         Pier 1 Imports (2011) 631 F.3d 939, 947 (emphasis added)). Thus, even if
   25
         the court finds disputed facts as to the difficulty and discomfort Mr. Garcia
   26
         experienced, the court can still find in Plaintiff’s favor on this issue since
   27
         there is no dispute that the dining surface did not comply on the date of
   28



                                                   17
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    1    Mr. Garcia’s visit. Because the dining surface did not comply with ADA
    2    standards, and because inaccessible dining relates to Mr. Garcia’s
    3    disability because he is a wheelchair user, (SUF # 1) the non-compliance
    4    alone was sufficient to deny Plaintiff “full and equal access” to the facility.
    5
               2.      Plaintiff was deterred from accessing the Restaurant
    6                  because of the inaccessible dining.
    7           A denial of full and equal access also occurs where a plaintiff was
    8    “deterred from accessing a place of public accommodation.” A plaintiff
    9    proves deterrence by demonstrating that:

   10           (1) The plaintiff had actual knowledge of a violation or

   11           violations that prevented or reasonably dissuaded the

   12           plaintiff from accessing a place of public accommodation

   13           that the plaintiff intended to use on a particular occasion.

   14           (2) The violation or violations would have actually denied

   15           the plaintiff full and equal access if the plaintiff had
                accessed the place of public accommodation on that
   16
                particular occasion. (Cal. Civ. Code § 55.56(d)(1)-(2)).
   17
                Here, Mr. Garcia had actual knowledge of the non-compliant dining
   18
         surface because when he arrived at the Restaurant, he observed that
   19
         outside pedestal style dining tables did not have enough toe and knee
   20
         clearance for wheelchair user and central pedestals would not allow him
   21
         rolling his wheelchair underneath and moving closer to the table. (SUF #
   22
         8) Mr. Garcia knew that had he tried to sit at the tables, he would have not
   23
         been able to get close enough to the table to be able to use it. He did not want
   24
         to embarrass himself trying to use the table, so he decided to leave without
   25
         further patronizing the Restaurant. This was frustrating for him because
   26
         he was hungry and had to find another place to get something to eat and
   27
         had wanted to dine at Aslan. (SUF #9) The inaccessible dining denied Mr.
   28



                                                   18
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    1    Garcia full and equal access because the dining did not comply with ADA
    2    standards. Therefore, Mr. Garcia was denied full and equal because he
    3    was deterred from accessing the Restaurant due to his knowledge of the
    4    inaccessible dining surface.
    5           Thus, there is no dispute that Plaintiff was denied full and equal
    6    access under the Unruh Civil Rights Act and is entitled to a statutory
    7    award. “The litigant need not prove he suffered actual damages to recover
    8    the independent statutory damages of $4,000.” (Molski v. M.J. Cable, Inc.,
    9    481 F.3d 724, 731 (9th Cir. 2007)).

   10
               3.      Plaintiff is entitled to a separate statutory award against
   11                  each Defendant.
   12           Plaintiff seeks a separate statutory penalty of $4,000 against each

   13    Defendant. The Unruh Civil Rights Act provides that “a violation of the

   14    right of any individual under the Americans with Disabilities Act of 1990

   15    shall also constitute a violation of this section.” (See Cal. Civ. Code § 51(f)).
         Under the ADA, the non-discrimination mandate applies to anyone who
   16
         “owns, leases (or        leases to), or operates a           place of public
   17
         accommodation.” (See 42 U.S.C. § 12182(a)). The Code of Federal
   18
         Regulations implementing Title III of the ADA states: “Both the landlord
   19
         who owns the building . . . and the tenant who owns or operates the place
   20
         of public accommodation are public accommodations subject to the
   21
         requirements of this part.” (28 C.F.R. § 36.201(b)(emphasis added)). As is
   22
         often the case, the Technical Assistance Manual reduces this to plain
   23
         language: “Both the landlord and the tenant are public accommodations
   24
         and have full responsibility for complying with all ADA title III
   25
         requirements . . . any allocation made in a lease or other contract is only
   26
         effective as between the parties, and both landlord and tenant remain fully
   27
         liable for compliance with all provisions of the ADA relating to that place
   28



                                                   19
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    1    of public accommodation.” ( U.S. Dept. of Justice, Civil Rights Division, the
    2    American with Disabilities Act: Title III Technical Assistance Manual §
    3    1.2000 (1993) (emphasis added)). And the Ninth Circuit has confirmed
    4    this understanding, adding the comment that: “The legislative history
    5    confirms that a landlord has an independent obligation to comply with the
    6    ADA . . . .” ( Botosan v. Paul McNally Realty, 216 F.3d 827, 833 (9th Cir.
    7    2000) (emphasis added)). In fact, because these statutory damages are
    8    penalties—and not compensatory—standard damages doctrines, such as
    9    mitigation, have no applicability. ( Langer v. McHale, 2014 WL 5422973,

   10    at *4 (S.D. Cal. 2014)). In the present case, the Plaintiff is seeking to have a

   11    penalty assessed against each of the responsible parties, i.e., the property

   12    owner (Donna M. Harnsberger) and the business operator (Aslan

   13    Catering, Inc.).

   14           The Ninth Circuit had the opportunity to review a district court’s

   15    assessment of penalties against multiple parties in Lentini v. California
         Center for the Arts. ( Lentini v. California Center for the Arts, Escondido, 370
   16
         F.3d 837 (9th Cir. 2004)).       In Lentini, after suffering discrimination,
   17
         invoked the ADA and Unruh Civil Rights Act, naming three defendants: (1)
   18
         the Center; (2) Alan Corbin, the House Manager, and (3) Randall Vogel,
   19
         the Director of Center Sales and Event Services. (Id. at 841). Following a
   20
         bench trial, the late Honorable Napoleon Jones found joint and several and
   21
         individual liability and assessed penalties against all three defendants for
   22
         the discriminatory treatment of Lentini. (Id. at 842-43). On appeal, the
   23
         Ninth Circuit upheld the award, noting that “both Corbin and Vogel [were]
   24
         liable under the ADA as ‘operators’ of a place of public accommodation.” (
   25
         Id. at 849).
   26
                The Hon. Judge Klausner was faced with a similar scenario in the
   27
         Central District Case, Juan Garibay v. Albert Yi-Hong Shen, et al, 2:18-cv-
   28



                                                   20
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    1    09719-RGK-E (C.D. Cal. November 22, 2019) (Hon. R. Gary Klausner).
    2    After consideration of the Lentini case in conjunction with Section
    3    36.201(b), the court concluded: “Both a landlord who owns the building
    4    and the tenant who operates on the premises are considered public
    5    accommodations under the ADA and are independently liable for
    6    violations of the same. A court may award damages to multiple
    7    independently responsible parties under the Unruh Act. (Juan Garibay v.
    8    Albert Yi-Hong Shen, et al., 2:18-cv-09719-RGK-E (C.D. Cal. November 22,
    9    2019) (Hon. R. Gary Klausner), p. 3. For the court’s reference, a copy of the

   10    decision is attached as Exhibit “6.”)

   11          Thus, a civil penalty can be assessed against each law-breaking

   12    defendant. Both the property owner (Donna M. Harnsberger) and the

   13    business operator (Aslan Catering, Inc) had independent obligations to

   14    comply with the ADA and neither fulfilled those obligations. Both entities

   15    were responsible, and both failed to follow the law. The statutory scheme
         is clear. Recovery of penalties against each does not constitute double
   16
         recovery because these are not compensatory damages. These are
   17
         statutory penalties and properly assessed against each, regardless of the
   18
         fact that the other has also been penalized for its misconduct.
   19
   20
                                   VII. CONCLUSION
   21
               For the foregoing reasons, Plaintiff respectfully requests this Court
   22
         grant his motion.
   23
   24
   25    Dated: December 20, 2021          CENTER FOR DISABILITY ACCESS
   26                                       By: /s/ Ariel Vento
                                                Ariel Vento
   27                                           Attorneys for Plaintiff
   28



                                                   21
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